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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 19-cv-03091-GPG

MATTHEW CHANNON,

       Applicant,

v.

WILLIAMS, Warden,

       Respondent.


     MOTION TO RESTRICT ACCESS TO MISFILED PRIVILEGED DOCUMENTS


       Respondent moves pursuant to D.C.COLO.LCivR 7.2 for an order to restrict (at a Level 2

restriction) access to information in the Court’s record that was inadvertently misfiled. That

misfiled information is protected by the attorney-client and attorney-work-product privileges and

also contains law enforcement sensitive information concerning the operation of the United

States Penitentiary – Administrative Maximum (“ADX”). Because Applicant is an inmate in

federal custody who is representing himself, undersigned counsel did not consult with him before

filing this motion. See D.C.COLO.LCivR 7.2(b)(1).

       Respondent provides the following information in accordance with Local Rule 7.2.

       On December 11, 2019, Respondent filed a preliminary response in this matter. See ECF

No. 10. Appended to the preliminary response was a declaration by Federal Bureau of Prisons

(“BOP”) legal assistant Paula Trujillo. ECF No. 10-1 at 1-6. Inadvertently attached to Ms.

Trujillo’s declaration were two emails that reflect privileged communications involving the

United States Attorney’s Office and its clients on matters wholly unrelated to the Application.


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Id. at 7-8. This error appears to have occurred during the scanning process and the documents

were mistakenly attached to the filing in this case. Undersigned counsel apologizes to the Court

for this error.

        Respondent therefore respectfully requests that the Court place a Level 2 restriction on

access to ECF No. 10-1 and to accept, as a replacement, the concurrently filed correct version of

Ms. Trujillo’s declaration and accompanying attachment. See Local Rules 7.2(c)(1) (“identify

the document or the proceeding for which restriction is sought”), (c)(5) (“identify the level of

restriction sought”). In this context, where information that is both privileged and law

enforcement sensitive has been mistakenly exposed, restricting access to that information to the

Court and the filing party is warranted.

        Respondent’s interest—and that of the Department of Justice—in protecting privileged

emails involving the United States Attorney’s Office and its clients outweighs the presumption

of public access. See Local Rule 7.2(c)(2) (“address the interest to be protected and why such

interest outweighs the presumption of public access”). The documents reflect a client’s request

for a legal opinion, as well as an analysis by a BOP official that includes law enforcement

sensitive information concerning the monitoring of ADX inmates. These matters are completely

extraneous to the case at hand. Critically, the widespread dissemination of these documents

would unnecessarily expose to the general public both privileged communications and the BOP’s

monitoring techniques. See Local Rule 7.2(c)(3) (“identify a clearly defined and serious injury

that would result if access is not restricted”); cf. Fed. R. Civ. P. 26(b)(5)(B) (providing for return,

sequestration, or destruction of inadvertently produced privileged information). Moreover,

because the emails are privileged in their entirety, it is neither appropriate nor feasible to present

them in redacted form. See Local Rule 7.2(c)(4).

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       For these reasons, Respondent respectfully requests that the Court place a Level 2

restriction on access to docket entry 10-1 and accept a corrected version of that docket entry that

is filed concurrently with this motion.

       Dated December 19, 2019.

                                                             Respectfully submitted,

                                                             JASON R. DUNN,
                                                             United States Attorney

                                                             s/ J. Benedict García
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                          CERTIFICATE OF SERVICE (CM/ECF)

       I hereby certify that on December 19, 2019, I electronically filed the foregoing with the
Clerk of Court using the ECF system which will send notification of such filing to the following
e-mail addresses:

None.

and I hereby certify that I have mailed or served the document or paper to the following non
CM/ECF participant(s) in the manner (mail, hand delivery, etc.) indicated by the nonparticipant's
name:

Applicant:
Matthew Channon
PRO SE
#72031-051
Florence Federal Prison Camp
Inmate Mail/Parcels
Po Box 5000
Florence, CO 81226

Agency Counsel:
Ian Guy, Attorney Advisor
Via email

                                                           s/ Leah Butler
                                                           United States Attorney's Office




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